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 7                        UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF CALIFORNIA
 9                                 ----oo0oo----
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11   KAREN CRANE-MCNAB, BERT CRANE,           NO. CIV. 1:08-1218 WBS SMS
     and MARY CRANE COUCHMAN,
12   individuals, KAREN CRANE-
     MCNAB, LLC; BERT CRANE                   MEMORANDUM AND ORDER RE:
13   ORCHARDS, L.P.; MARY CRANE               MOTIONS TO AMEND FINDINGS, FOR
     COUCHMAN TRUST; and MARY CRANE           NEW TRIAL OR TO ALTER OR AMEND
14   COUCHMAN FAMILY PARTNERSHIP,             JUDGMENT, FOR RELIEF FROM
     L.P.,                                    JUDGMENT, FOR ATTORNEY’S FEES,
15                                            AND FOR SANCTIONS
                  Plaintiffs,
16
             v.
17
     COUNTY OF MERCED, and DOES 1
18   to 20,
19                Defendants.
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21                                 ----oo0oo----
22                On February 8, 2011, this court entered judgment in
23   favor of defendant after a four-day bench trial.          (Docket No.
24   193.)    Plaintiffs now move the court to amend its findings or
25   make additional findings pursuant to Federal Rule of Civil
26   Procedure 52(b), for a new trial or to alter or amend the
27   judgment pursuant to Rule 59, and for relief from judgment due to
28   mistake or inadvertence pursuant to Rule 60.        Defendant also

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 1   moves the court to amend or clarify its findings pursuant to Rule
 2   52(b) and moves for attorney’s fees pursuant to 42 U.S.C. § 1988
 3   and sanctions pursuant to Rule 11.
 4   I.   Factual and Procedural Background
 5               This action arises out of a landfill operated by
 6   defendant that neighbors plaintiffs’ land.       A Caltrans right of
 7   way, which includes Highway 59, runs between the landfill and the
 8   Crane property.   Plaintiffs alleged that volatile organic
 9   compounds (“VOCs”) migrated from the landfill onto their
10   property, trash and odor blew from the landfill onto their
11   property, water came through a culvert in the Caltrans right of
12   way onto their property, and debris from creeks allegedly
13   maintained by defendant collected on their property.          After a
14   partial grant of summary judgment on several issues of law and
15   fact (Docket No. 153), the court held, following a bench trial,
16   that plaintiffs had failed to prove by a preponderance of the
17   evidence any of their claims, which included (1) inverse
18   condemnation under federal and state law regarding VOC migration,
19   trash, and creek debris; (2) trespass regarding VOC migration;
20   (3) nuisance regarding VOC migration, trash, and odors; (4)
21   negligence regarding VOC migration; (5) negligent failure to warn
22   regarding VOC migration; (6) violation of the Due Process Clause
23   of the Fourteenth Amendment; and (7) declaratory relief.           (Feb.
24   8, 2011, Mem. of Decision (Docket No. 192).)
25               Plaintiffs have appealed to the United States Court of
26   Appeals for the Ninth Circuit from the judgment on March 7, 2011.
27   (Docket No. 200.)   Federal Rule of Appellate Procedure 4
28   provides:

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 1         If a party files a notice of appeal after the court
           announces or enters a judgment--but before it disposes of
 2         any motion listed in Rule 4(a)(4)(A) [including a motion
           to amend or make additional factual findings under Rule
 3         52(b), to alter or amend the judgment under Rule 59, for
           a new trial under Rule 59, or for relief under Rule 60]--
 4         the notice becomes effective to appeal a judgment or
           order, in whole or in part, when the order disposing of
 5         the last such remaining motion is entered.
 6   Fed. R. App. P. 4(a)(4).      Thus, this court retains jurisdiction
 7   to decide the Rule 52(b), 59, and 60 motions despite plaintiffs’
 8   appeal.
 9                Similarly, this court retains jurisdiction over
10   defendant’s motions for attorney’s fees and sanctions.            See
11   United Energy Owners Comm., Inc. v. U.S. Energy Mgmt. Sys., Inc.,
12   837 F.2d 356, 358 (9th Cir. 1988) (district court retained
13   jurisdiction to impose sanctions while appeal was
14   pending); Masalosalo by Masalosalo v. Stonewall Ins. Co., 718
15   F.2d 955, 957 (9th Cir. 1983) (district court retained
16   jurisdiction to award attorney’s fees after notice of appeal from
17   decision on merits was filed).
18   II.   Discussion
19         A.     Rules 52(b), 59, and 60
20                Federal Rule of Civil Procedure 52(b) permits a court
21   to amend findings made after a bench trial.        Rule 52(b) provides:
22   “On a party’s motion filed no later than 28 days after the entry
23   of judgment, the court may amend its findings--or make additional
24   findings--and may amend the judgment accordingly.”             Fed. R. Civ.
25   P. 52(b).    Motions under Rule 52(b) are primarily designed to
26   correct findings of fact which are central to the ultimate
27   decision; the Rule is not intended to serve as a vehicle for a
28   rehearing.    Davis v. Mathews, 450 F. Supp. 308, 318 (E.D. Cal.

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 1   1978).
 2               Rule 59(a) of the Federal Rules of Civil Procedure
 3   provides that a court may grant a new trial “for any reason for
 4   which a rehearing has heretofore been granted in a suit in equity
 5   in federal court.”1   Fed. R. Civ. P. 59(a)(1)(B).       After a
 6   nonjury trial, a court may also “open the judgment if one has
 7   been entered, take additional testimony, amend findings of fact
 8   and conclusions of law or make new ones, and direct the entry of
 9   a new judgment.”   Fed. R. Civ. P. 59(a)(2).      Rule 59 does not
10   specify the grounds on which a motion for a new trial may be
11   granted.    Zhang v. Am. Gem Seafoods, Inc., 339 F.3d 1020, 1035
12   (9th Cir. 2003).   Rather, the court is “bound by those grounds
13   that have been historically recognized.”      Id.
14               Rule 59(e) provides that a court may alter or amend a
15   judgment.   Absent “other, highly unusual, circumstances,”
16   reconsideration pursuant to Rule 59(e) is appropriate only where
17   (1) the court is presented with newly discovered evidence; (2)
18   the court committed clear error or the initial decision was
19   manifestly unjust; or (3) there is an intervening change in
20   controlling law.   Sch. Dist. No. 1J, Multnomah Cnty. v. ACandS,
21   Inc., 5 F.3d 1255, 1263 (9th Cir. 1993).
22               Federal Rule of Civil Procedure 60(a) allows the court
23   to correct, on its own initiative or on the motion of any party,
24   a clerical mistake in a judgment, order, or other part of the
25   record.    A court may amend its decision under Rule 60(a) so long
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               Plaintiffs do not explain why they move for a new trial
27   or the grounds on which the court could grant a new trial.
     Accordingly, the court need not dignify the motion with any
28   discussion or explanation, other than to deny it as groundless.

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 1   as the change is consistent with the court’s original intent.
 2   Harman v. Harper, 7 F.3d 1455, 1457 (9th Cir. 1993).          “The basic
 3   distinction between ‘clerical mistakes’ and mistakes that cannot
 4   be corrected pursuant to Rule 60(a) is that the former consist of
 5   ‘blunders in execution’ whereas the latter consist of instances
 6   where the court changes its mind . . . .”      Blanton v. Anzalone,
 7   813 F.2d 1574, 1577 n.2 (9th Cir. 1987) (quoting United States v.
 8   Griffin, 782 F.2d 1393, 1396-97 (7th Cir. 1986)).         Rule 60(a) may
 9   not be used to correct substantial errors, such as errors of law.
10   Sanchez v. City of Santa Ana, 936 F.2d 1027, 1033 (9th Cir.
11   1990).
12              Rule 60(b) allows a court to relieve a party from a
13   final judgment, order, or proceeding for six reasons: (1)
14   mistake, inadvertence, surprise, or excusable neglect; (2) newly
15   discovered evidence; (3) fraud, misrepresentation, or other
16   misconduct by the opposing party; (4) the judgment is void; (5)
17   the judgment has been satisfied, released, or discharged; and (6)
18   any other reason justifying relief.     Fed. R. Civ. P. 60(b).         Mere
19   dissatisfaction with the court’s order, or belief that the court
20   is wrong in its decision, are not grounds for relief under Rule
21   60(b).   Twentieth Century-Fox Film Corp. v. Dunnahoo, 637 F.2d
22   1338, 1341 (9th Cir. 1981).
23              Plaintiffs request thirteen amendments to the court’s
24   findings of fact and also ask the court to amend the judgment to
25   award plaintiffs nominal damages, injunctive relief, and
26   declaratory relief.   Plaintiffs do not specify the rules under
27   which they make these requests, but refer generally to Rules
28   52(b), 59, and 60.    Defendant also requests one amendment to the

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 1   findings of fact pursuant to Rule 52(b).
 2                1.   Findings of Fact
 3                Plaintiffs request several amendments to the findings
 4   of fact that would simply add more background to the court’s
 5   memorandum of decision without being central to the decision or
 6   affecting the judgment.     Plaintiffs’ proposed amendments include:
 7   (1) the dates the government tort claim and the instant suit were
 8   filed, (2) a description of the mitigation measures considered by
 9   the County, (3) the disclosure requirements for sellers of
10   contaminated real estate, (4) a more complete description of the
11   testimony by plaintiffs’ appraiser, Jeffrey Lien, and a further
12   explanation of why the court did not consider his testimony to be
13   credible, (5) the fact that the County issued a request for
14   proposals for a new gas extraction system, (6) the fact that the
15   County then issued a second request for proposals, (7) the fact
16   that the County asked at trial that the court treat extraction as
17   a subsequent remedial measure, (8) an explanation of the conflict
18   in current scientific knowledge regarding whether methane
19   separates from VOCs, and (9) an explanation of the County’s
20   argument that Freon must be present when VOC migration occurs.
21   The addition of the proposed amendments would not change the
22   court’s opinion, and the court declines to amend its decision
23   simply to articulate the facts in a way that would be pleasing to
24   plaintiffs.
25                Plaintiffs and defendant each move for one correction
26   to language in the court’s decision that they believe to be
27   incorrect.    Plaintiffs believe that the court’s description of
28   the location of the various landfill cells was inaccurate.

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 1   However, the court’s description was based on the evidence
 2   presented at trial, and the court does not find it to be
 3   inaccurate.   Defendant requests that the court amend its findings
 4   regarding the ownership and operation of the creeks.          The court
 5   finds that its language was accurate based on the evidence
 6   presented and declines to amend its findings on this point.2
 7             Finally, plaintiffs request that the court find the
 8   following facts: (1) the landfill contains many of the same
 9   chemicals as those detected on the Crane property, (2) not all
10   VOCs found on the Crane property came from fuel, and (3) there
11   was no evidence of a fuel spill on the Crane property.          If
12   plaintiffs would read the court’s decision carefully, they would
13   discover that the court in fact discussed these three issues.
14   (See Feb. 8, 2011, Mem. of Decision at 10:18-11:7 (while many of
15   the same chemicals were detected, there was no “fingerprint
16   match”), 11:22-27 (many of the chemicals are found in petroleum,
17   and “the amount found in the soil could have been caused by less
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               The Memorandum of Decision states that “[t]he Merced
19   Irrigation District owns the creeks, and the County is
     responsible for maintaining them.” (Feb. 8, 2011, Mem. of
20   Decision at 17:7-8 (Docket No. 192).) This reflects the
     undisputed fact, expressly agreed upon by the parties, that was
21   “deemed proven without further proceedings,” as stated in the
     court’s Pretrial Order: “Defendant operates and maintains
22   waterways commonly known as Canal Creek and Edendale Creek, which
     flow through or border property owned by Plaintiffs.” (Nov. 18,
23   2010, Pretrial Order ¶ 6 (Docket No. 162).)
24             Defendant admits in its reply brief that “the
     Operations and Maintenance Manual from the Corps of Engineers
25   assigned to the County the task of maintaining the flow of Canal
     Creek. This duty was owed to the Corps and also mentioned
26   contracting with Merced Irrigation District (“MID”) certain
     portions of the flow maintenance.” (Def.’s Mem. of P. & A. in
27   Reply to Pls.’ Opp’n to Mot. to Amend/Clarify the Findings at
     2:7-10 (Docket No. 220).) Nothing in the court’s opinion
28   contradicts this explanation.

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 1   than a gallon of petroleum,” consistent with vehicles on the
 2   highway or the property, not necessarily a fuel spill).)
 3             The court need not address every evidentiary issue or
 4   fact in its memorandum of decision.     See Nicholson v. Bd. of
 5   Educ. Torrance Unified Sch. Dist., 682 F.2d 858, 866 (9th Cir.
 6   1982) (“The test in this circuit as to the adequacy of findings
 7   of fact is whether they are explicit enough on the ultimate
 8   issues to give the appellate court a clear understanding of the
 9   basis of the decision and to enable it to determine the grounds
10   on which the trial court reached its decision.”); Westside Prop.
11   Owners v. Schlesinger, 597 F.2d 1214, 1216 n.3 (9th Cir. 1979)
12   (“We do not believe that the district court has an obligation to
13   address explicitly every point raised by the parties.”).
14             It is for the court, not the parties, to prepare its
15   decision, in the language chosen by the court, not the parties.
16   And it is not for the parties to rewrite the court’s decision to
17   suit their preferences.   See Delia v. City of Rialto, 621 F.3d
18   1069, 1073 n.2 (9th Cir. 2010) (citing cases disapproving of the
19   practice of courts mechanically adopting the findings of fact and
20   conclusions of law as prepared by counsel); Indus. Bldg.
21   Materials, Inc. v. Interchem. Corp., 437 F.2d 1336, 1339 (9th
22   Cir. 1970) (“This practice has been condemned because of the
23   possibility that such findings and conclusions, prepared by the
24   non-objective advocate, may not fully and accurately reflect the
25   thoughts entertained by the impartial judge at the time of his
26   initial decision.”).   The court is satisfied that the decision as
27   written is the appropriate expression of its reasoning.           The
28   court gave much thought to its opinion, and while the parties may

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 1   have written the decision differently, for better or worse, the
 2   court will deny the parties’ motions to the extent that they seek
 3   amendments to the findings of fact.
 4             2.    Nominal Damages and Injunctive Relief
 5             Plaintiffs seek nominal damages and injunctive relief
 6   under theories of liability previously rejected by the court:
 7   inverse condemnation for trash and nuisance for trash and odor.3
 8   They also seek injunctive relief regarding future VOC migration,
 9   surface water, trash, odor, and creek debris without reference to
10   any theory of liability at all.
11             A plaintiff seeking a permanent injunction must satisfy
12   a four-factor test.   “A plaintiff must demonstrate: (1) that it
13   has suffered an irreparable injury; (2) that remedies available
14   at law, such as monetary damages, are inadequate to compensate
15   for that injury; (3) that, considering the balance of hardships
16   between the plaintiff and defendant, a remedy in equity is
17   warranted; and (4) that the public interest would not be
18   disserved by a permanent injunction.”        eBay Inc. v. MercExchange,
19   L.L.C., 547 U.S. 388, 391 (2006).
20             The standard for a permanent injunction is essentially
21   the same as for a preliminary injunction, with the exception that
22   the plaintiff must show actual success, rather than a likelihood
23   of success.    See Amoco Prod. Co. v. Village of Gambell, 480 U.S.
24
25        3
                To the extent that plaintiffs seek nominal damages and
     injunctive relief on their claims for negligence and trespass
26   relating to trash and odor, they cannot recover. The court
     previously granted summary judgment on those claims; they were
27   not part of the trial and plaintiffs cannot attempt to relitigate
     them now. (See Oct. 13, 2010, Summ. J. Order at 28:2-3 (Docket
28   No. 153).)

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 1   531, 546 n.12 (1987).   Since plaintiffs did not succeed on any of
 2   their claims, they are not entitled to a permanent injunction.
 3   See Lopez v. Wash. Mut. Bank, F.A., No. 1:09-CV-1838 AWI JLT,
 4   2010 WL 1558938, at *9 (E.D. Cal. Apr. 19, 2010) (“Because an
 5   injunction is merely a remedy and is not a cause of action, a
 6   cause of action must exist before injunctive relief may be
 7   granted.”).   Nevertheless, the court will go through each of
 8   plaintiffs’ requests in turn.
 9                   a.   Nuisance
10             Plaintiffs argue that they are entitled to a permanent
11   injunction and nominal damages because two California Penal Code
12   sections and one Merced County Code section create a claim for
13   nuisance per se for trash and odor.       This argument was not raised
14   in plaintiffs’ trial brief or at trial.4         A party may not use
15   Rule 52 to “relitigate old issues, to advance new legal theories,
16   or to secure a rehearing on the merits.”         Fontenot v. Mesa
17   Petroleum Co., 791 F.2d 1207, 1219 (5th Cir. 1986).             Similarly, a
18   Rule 59(e) motion “may not be used to raise arguments or present
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20        4
               The Merced County Code section was mentioned in
     plaintiffs’ Third Amended Complaint (“TAC”). (TAC ¶ 31 (Docket
21   No. 46).)
22             The Penal Code sections were mentioned in plaintiffs’
     First Amended Complaint (“FAC”). (FAC ¶¶ 26-27 (Docket No. 10).)
23   The court dismissed plaintiffs’ trespass claim in the FAC because
     the Penal Code sections did not “mandate a duty on County to
24   support a tort claim.” (Oct. 28, 2008, Order at 7:19-8:1 (Docket
     No. 28).) Plaintiffs again included the Penal Code sections in
25   their Second Amended Complaint (“SAC”). (SAC ¶¶ 26-27 (Docket
     No. 30).) However, after defendant moved to strike the
26   references to the Penal Code (Mot. to Strike at 3:7-16 (Docket
     No. 32)), plaintiffs moved to amend their complaint to correct
27   that and other deficiencies (Mem. in Supp. of Mot. to Amend the
     Compl. at 2:13-15, 3:1-3 (Docket No. 35)) and filed the TAC
28   without any reference to the Penal Code.

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 1   evidence for the first time when they could reasonably have been
 2   raised earlier in the litigation.”        Kona Enters., Inc. v. Estate
 3   of Bishop, 229 F.3d 887, 890 (9th Cir. 2000).          Plaintiffs cannot
 4   now raise new arguments in an attempt to amend the judgment.
 5                  Even if the argument had been properly raised, it would
 6   fail.       Plaintiffs base their nuisance per se argument on
 7   California Penal Code section 374.3 (dumping waste matter on
 8   private property without consent is unlawful), section 374.4
 9   (littering is unlawful), and Merced County Code section 9.16.010
10   (“wilfully or negligently or carelessly” allowing material on
11   one’s property to be blown onto the property of another is
12   unlawful).      The latter is inapplicable, as the court already
13   found that defendant did not act negligently and met all
14   standards of care for the state of California.5          (Mem. of
15   Decision at 13:7-18).
16                  “[A] nuisance per se arises when a legislative body
17   with appropriate jurisdiction, in the exercise of the police
18   power, expressly declares a particular object or substance,
19   activity, or circumstance, to be a nuisance.”          Beck Dev. Co. v.
20   S. Pac. Transp. Co., 44 Cal. App. 4th 1160, 1206 (3d Dist. 1996).
21   “[T]o rephrase the rule, to be considered a nuisance per se the
22   object, substance, activity or circumstance at issue must be
23   expressly declared to be a nuisance by its very existence by some
24   applicable law.”      Id. at 1207.   “[W]here the law expressly
25   declares something to be a nuisance, then no inquiry beyond its
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27             Plaintiffs conveniently omit the mens rea portion of
     Merced County Code section 9.16.010 in their brief. (Pls.’ Mem.
28   in Supp. of FRCP 52(b) Mot., FRCP 59 Mot., and FRCP 60 Mot. at
     17:2-5 (Docket No. 199).)

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 1   existence need be made . . . .”      Id.   Even if the dumping and
 2   littering laws applied to the landfill, an issue that has not
 3   been properly briefed,6 plaintiffs point to no declaration of any
 4   legislative body, nor can the court find any, declaring such
 5   violations to be a nuisance.      Accordingly, plaintiffs have not
 6   shown a nuisance per se.      As this and plaintiffs’ theories at
 7   trial involving nuisance have failed, they cannot support
 8   plaintiffs’ request for a permanent injunction.
 9             Plaintiffs have also failed to show why they are
10   entitled to nominal damages for nuisance.         Under California law,
11   “[n]ominal damages are properly awarded . . . [w]here there is no
12   loss or injury to be compensated but where the law still
13   recognizes a technical invasion of a plaintiff’s rights or a
14   breach of a defendant’s duty . . . .”         Avina v. Spurlock, 28 Cal.
15   App. 3d 1086, 1088 (5th Dist. 1972); see Cal. Civ. Code § 3360
16   (“When a breach of duty has caused no appreciable detriment to
17   the party affected, he may yet recover nominal damages.”).
18             A nuisance is “[a]nything which is injurious to health
19   . . . or is indecent or offensive to the senses, or an
20   obstruction to the free use of property, so as to interfere with
21   the comfortable enjoyment of life or property . . . .”             Cal. Civ.
22   Code § 3479.   The court found in its decision that there was “a
23   total lack of evidence that trash or odors ‘interfere[d] with the
24   enjoyment or use of land or property.’”        (Mem. of Decision at
25   15:9-11 (quoting Stoiber v. Honeychuck, 101 Cal. App. 3d 903, 919
26   (5th Dist. 1980))).   Thus, no nuisance occurred that could
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28             This is one good reason why new arguments should not be
     raised in post-trial motions.

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 1   entitle plaintiffs to nominal damages.
 2                    b.   Inverse Condemnation
 3               The court explained in its memorandum of decision that
 4   an inverse condemnation claim under California law requires as
 5   one of its elements that plaintiffs’ property suffer damage
 6   (Order at 5:19 (quoting Yamagiwa v. City of Half Moon Bay, 523 F.
 7   Supp. 2d 1036, 1088 (N.D. Cal. 2007)), and a claim under federal
 8   law requires that the government “deprives the owner of all or
 9   most of his interest in property” (id. at 6:3-7 (quoting Aris
10   Gloves, Inc. v. United States, 420 F.2d 1386, 1391 (Ct. Cl.
11   1970))).    This requirement that plaintiffs show they have been
12   damaged (in order to prove the claim) is different from proving
13   the amount of actual damages sustained (in order to recover that
14   amount).    Cf. Adams v. Paul, 11 Cal. 4th 583, 589 (1995) (“the
15   fact of damage” and “the amount” are different considerations for
16   statute of limitations purposes).
17               Plaintiffs did not demonstrate that the trash blown
18   onto their property rose to the level of a taking under state or
19   federal law.   It is undisputed that “[w]ind blows away from the
20   Crane property and towards the solid waste facility the majority
21   of the time, only changing directions with rare storms.”
22   (Pretrial Order at 12:24-25 (Docket No. 162).)           It may be assumed
23   that most trash blown onto the property is soon blown off of the
24   property.   The issue of a small amount of trash temporarily on
25   plaintiffs’ property simply does not fall within any conceivable
26   definition of a taking.       See Yee v. City of Escondido, 503 U.S.
27   519, 527 (1992) (“compelled physical invasion of
28   property”); Loretto v. Teleprompter Manhattan CATV Corp., 458

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 1   U.S. 419, 435 (1982) (“permanent physical occupation of another’s
 2   property”); id. at 435-36 (destruction of owner’s property rights
 3   to possess, use, and dispose of property); PruneYard Shopping
 4   Ctr. v. Robins, 447 U.S. 74, 82-83 (1980) (“[T]he determination
 5   whether a state law unlawfully infringes a landowner’s property
 6   in violation of the Taking Clause requires an examination of
 7   whether the restriction on private property ‘forc[es] some people
 8   alone to bear public burdens which, in all fairness and justice,
 9   should be borne by the public as a whole.’ . . .         This
10   examination entails inquiry into such factors as the character of
11   the governmental action, its economic impact, and its
12   interference with reasonable investment-backed expectations.”
13   (quoting Armstrong v. United States, 364 U.S. 40, 49 (1960)));
14   Penn. Coal Co. v. Mahon, 260 U.S. 393, 415 (1922) (“[I]f
15   regulation goes too far it will be recognized as a taking.”).
16              Under federal law, the award of nominal damages in §
17   1983 cases is mandatory as “symbolic vindication” of a
18   plaintiff’s constitutional rights, whether or not he has suffered
19   economic harm.   Schneider v. Cnty. of San Diego, 285 F.3d 784,
20   795 (9th Cir. 2002).   “[N]ominal damages must be awarded if a
21   plaintiff proves a violation of his . . . constitutional rights.”
22   Estate of Macias v. Ihde, 219 F.3d 1018, 1028 (9th Cir. 2000)
23   (emphasis added).   Because plaintiffs did not prove a violation
24   of their constitutional rights, they are not entitled to nominal,
25   or any other, damages.
26              Similarly, if no taking exists, no injunction may
27   issue.   See Art Movers, Inc. v. Ni W., Inc., 3 Cal. App. 4th 640,
28   646 (2d Dist. 1992) (“A permanent injunction is a determination

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 1   on the merits that a plaintiff has prevailed on a cause of action
 2   for tort or other wrongful act against a defendant and that
 3   equitable relief is appropriate.”).     An injunction cannot prevent
 4   a non-injury.
 5                    c.   General Injunctive Relief
 6             Without reference to any particular law entitling them
 7   to such relief, plaintiffs request an injunction against future
 8   VOC migration, surface water, trash, odor, and debris.             The court
 9   again refers plaintiffs to Lopez, 2010 WL 1558938.             See id. at *9
10   (“Because an injunction is merely a remedy and is not a cause of
11   action, a cause of action must exist before injunctive relief may
12   be granted.”).
13             Plaintiffs’ request for an injunction against the
14   possibility of future VOC migration is misguided.             The court
15   found that plaintiffs had not met their burden of showing that
16   VOC migration had occurred.    (Mem. of Decision at 11:27-12:2.)
17   Similarly, no evidence was presented to demonstrate that VOC
18   migration was likely to occur in the future.        “Injunction issues
19   to prevent existing or presently threatened injuries.             One will
20   not be granted against something merely feared as liable to occur
21   at some indefinite time in the future.”      Connecticut v.
22   Massachusetts, 282 U.S. 660, 674 (1931); see City of Los Angeles
23   v. Lyons, 461 U.S. 95, 101-02 (1983) (“[T]he injury or threat of
24   injury must be both real and immediate, not conjectural or
25   hypothetical.”) (internal quotation marks omitted).            The court
26   will not issue an injunction against the mere possibility that
27   VOC migration will occur in the future.
28             Similarly, the court found that water drained through a

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 1   culvert under Highway 59 from the landfill toward the Crane
 2   property, but it did not find that the water left the Caltrans
 3   right of way, that the water flooded the Crane property, or that
 4   it was likely to do so in the future.        (Mem. of Decision at
 5   15:24-16:13.)   Plaintiffs did not demonstrate that surface water
 6   injured them in any way or even came onto their land.
 7             While the court did find that plaintiffs proved that
 8   trash and odor blew from the landfill onto the Crane property and
 9   that debris from the creeks was deposited on the property (Mem.
10   of Decision at 14:7-13, 16:23-26), the court found that no damage
11   occurred because of the trash, odor, or debris.          (Id. at 14:14-
12   15:22, 16:26-17:6.)   To be entitled to an injunction, plaintiffs
13   must prove an irreparable injury, which they failed to do.
14   See eBay, 547 U.S. at 391.
15             Accordingly, the court will deny plaintiffs’ requests
16   for nominal damages and injunctive relief.
17             3.    Declaratory Relief
18             Plaintiffs have failed to show entitlement to
19   declaratory relief.   Declaratory relief is only appropriate when
20   the facts alleged “show that there is a substantial controversy .
21   . . of sufficient immediacy and reality to warrant the issuance
22   of declaratory judgment.”     Boeing Co. v. Cascade Corp., 207 F.3d
23   1177, 1192 (9th Cir. 2000).    Plaintiffs have provided no
24   explanation as to what they wish the court to declare in light of
25   the court’s previous decision in defendant’s favor or why such
26   relief would be appropriate.     Accordingly, the court will deny
27   plaintiffs’ motion to the extent that it seeks declaratory
28   relief.

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 1        B.   Attorney’s Fees
 2             Section 1988(b) of Title 42 of the United States Code
 3   authorizes the court, in its discretion, to award a “reasonable”
 4   attorney’s fee to the prevailing party in a case brought under 42
 5   U.S.C. § 1983.   A “prevailing party” is one who succeeds on any
 6   significant issue in litigation, achieving some of the benefit
 7   sought in bringing the suit, and resulting in a “material
 8   alteration of the legal relationship of the parties.”           Tex. State
 9   Teachers Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 792-93
10   (1989).
11             While § 1988 makes no such distinction, courts have
12   interpreted the statute to treat a prevailing defendant
13   differently from a prevailing plaintiff; fees are not awarded
14   routinely or simply because the defendant succeeded.          See Patton
15   v. Cnty. of Kings, 857 F.2d 1379, 1381 (9th Cir. 1988).           To be
16   awarded fees, a prevailing defendant must demonstrate that the
17   “plaintiff’s action was frivolous, unreasonable, or without
18   foundation, even though not brought in subjective bad faith.”
19   Christiansburg Garment Co. v. E.E.O.C., 434 U.S. 412, 421 (1978).
20   This standard is “stringent,” Hughes v. Rowe, 449 U.S. 5, 14
21   (1980), and the Ninth Circuit repeatedly has recognized that
22   attorney’s fees in civil rights cases “should only be awarded to
23   a defendant in exceptional circumstances.”       Saman v. Robbins, 173
24   F.3d 1150, 1157 (9th Cir. 1999) (quoting Barry v. Fowler, 902
25   F.2d 770, 773 (9th Cir. 1990)) (internal quotation mark omitted);
26   see also Herb Hallman Chevrolet, Inc. v. Nash-Holmes, 169 F.3d
27   636, 645 (9th Cir. 1999); Brooks v. Cook, 938 F.2d 1048, 1055
28   (9th Cir. 1991).   “An action becomes frivolous when the result

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 1   appears obvious or the arguments are wholly without merit.”
 2   Galen v. Cnty. of Los Angeles, 477 F.3d 652, 666 (9th Cir. 2007)
 3   (citing Christiansburg, 434 U.S. at 422).          A court must “resist
 4   the understandable temptation to engage in post hoc reasoning by
 5   concluding that, because a plaintiff did not ultimately prevail,
 6   his action must have been unreasonable or without foundation.”
 7   Christianburg, 434 U.S. at 421-22.
 8              Courts should be cautious when considering an award to
 9   a prevailing defendant where the lawsuit was initiated by a party
10   with limited financial resources or one who is appearing pro se.
11   See Miller v. L.A. Cnty. Bd. of Educ., 827 F.2d 617, 620 (9th
12   Cir. 1987).     However, courts have expressed more willingness to
13   award attorney’s fees against “corporate-type plaintiffs who
14   present meritless civil rights claims,” because “[s]aid group of
15   plaintiffs is certainly well equipped to finance a civil rights
16   suit.”   Goldrich, Kest & Stern v. City of San Fernando, 617 F.
17   Supp. 557, 564 (C.D. Cal. 1985); see Wal-Mart Stores, Inc. v.
18   City of Turlock, 483 F. Supp. 2d 1023, 1028 (E.D. Cal. 2007).
19              1.    Entitlement to Fees
20              Plaintiffs’ first cause of action, for inverse
21   condemnation, was brought under the Fifth Amendment to the United
22   States Constitution, § 1983, and the California Constitution.
23   (Third Am. Compl. (“TAC”) ¶¶ 36-43.)       Their seventh cause of
24   action, for “Violation of Due Process Clause of the Fourteenth
25   Amendment of the United States, and Title 42 U.S.C. § 1983,” was
26   brought under § 1983, and incorporated by reference all other
27   allegations in the TAC.       (Id. ¶¶ 83-91.)
28              As the court explained in its Memorandum of Decision:

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 1        Plaintiffs’ allegations can be separated into four
          distinct allegations: (1) volatile organic compounds
 2        (“VOCs”) have migrated through the soil from the landfill
          onto Lot 1; (2) trash and odors are blown onto the Crane
 3        property from the landfill by the wind; (3) runoff water
          from the landfill floods Lot 1; and (4) debris from the
 4        creeks accumulates on the Crane property.
 5
     (Mem. of Decision at 4:6-12.)
 6
                 Plaintiffs’ allegations that VOCs from the landfill
 7
     migrated onto their property were completely groundless.
 8
     Plaintiffs tested for VOCs at only one location on the Crane
 9
     property: the bottom of the Caltrans right of way drainage area,
10
     on Lot 1.   Most of the contaminants found were petroleum-related.
11
     (Mem. of Decision at 11:23-27.)     Plaintiffs’ expert himself
12
     concluded that the area of influence from which one could deduce
13
     similar results was only 50 to 100 feet.       (Summ. J. Order at
14
     11:2-28.)   Plaintiffs then tested twice more without giving
15
     notice to defendant of the testing, in direct contravention of
16
     the court’s orders.    (Tr. of Proceedings on Def.’s Mot. for
17
     Sanctions at 7:17-8:12 (Docket No. 82).)       On one occasion,
18
     plaintiffs’ expert even asked if defendant should be notified of
19
     the testing, and was explicitly told by plaintiffs’ counsel not
20
     to inform defendant.   (Id. at 8:21-9:2.)      At summary judgment,
21
     plaintiffs withdrew their allegations concerning groundwater
22
     contamination after it was pointed out that even their expert
23
     testified that no VOCs were found in the groundwater.           (Summ. J.
24
     Order at 7:25-8:6.)
25
                 Plaintiffs knew or should have known that their
26
     allegations regarding VOCs in the soil were similarly flawed.             At
27
     trial, plaintiffs’ experts’ opinions and their testing techniques
28

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 1   were conclusively disproved.     (See Mem. of Decision at 8:20-
 2   12:2.)   Plaintiffs cannot have been taken by surprise by their
 3   own lack of evidence and the insurmountable deficiencies in their
 4   experts’ opinions, particularly given that they were provided
 5   with initial and rebuttal expert reports by defendant’s experts
 6   explaining those deficiencies in May and June of 2010.           At trial,
 7   defendant’s expert E. Wayne Pearce, who plaintiffs never
 8   attempted to depose despite his disclosure as an expert,
 9   testified that the tests performed by plaintiffs were
10   “indefensible.”   (Id. at 9:11-15.)    His testimony was completely
11   unimpeached by plaintiffs.    While a court should not find a claim
12   to be frivolous just because the evidence presented in support of
13   that claim was discounted because of a credibility problem or a
14   weighing of the evidence, plaintiffs’ VOC evidence was not just
15   incredible; the “evidence” had no basis in fact.
16              This conclusion is bolstered by several other defects
17   in plaintiffs’ case.   Plaintiffs’ expert Timothy Souther, while
18   not an expert on anything health-related, testified that he
19   looked at a chart that was not intended to be used to assess
20   human health risk and made certain assumptions about the health
21   risk involved.    Similarly, plaintiffs’ appraiser Jeffrey Lien’s
22   testimony that the property value must have depreciated to zero
23   was based on these assumptions regarding damage and health risk,
24   without any basis in fact.7    Plaintiffs did not attempt to
25
          7
26             Plaintiffs request in their motion to amend the
     judgment that the court explain why it discounted Mr. Lien’s
27   testimony. While it would be inappropriate to amend the decision
     for that purpose, such a discussion is relevant in determining
28   that plaintiffs’ VOC allegations were frivolous. Mr. Lien was
     not fully certified as an appraiser and made his findings without

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 1   contest testimony by defendant’s witnesses Ambrose McCready, who
 2   testified that the landfill met all standards of care, or Paul
 3   Damian, who testified that even assuming conditions far worse
 4   than those present on the Crane property, such as an enclosed
 5   building in which people lived, and even taking the faulty data
 6   presented by plaintiffs as true, no health risk could exist.
 7   (See Mem. of Decision at 13:7-13, 14 n.7.)
 8             Simply put, plaintiffs had no evidence that VOCs
 9   actually migrated from the landfill to the Crane property or even
10   that VOCs existed on the Crane property.       Forcing defendant to
11   defend against sham evidence and to incur expenses presenting
12   evidence that plaintiffs did not even attempt to rebut is the
13   very definition of frivolity.     Plaintiffs’ citation to R.P. ex
14   rel. C.P. v. Prescott Unified School District, 631 F.3d 1117 (9th
15   Cir. 2011), is unavailing.    That case noted that “so long as the
16   plaintiffs present evidence that, if believed by the fact-finder,
17   would entitle them to relief, the case is per se not frivolous.”
18   Id. at 1126.    Surely the Ninth Circuit did not mean that a
19   plaintiff could present completely false or nonsensical
20   “evidence” and avoid paying attorney’s fees because, if believed,
21   that evidence would entitle the plaintiff to relief.
22             Furthermore, the evidence must be such that it would
23   “entitle [plaintiffs] to relief,” not simply support one element
24   of a claim.    Id.   As the court explained in its decision and in
25
26   consulting any lenders or following the Appraisal Institute
     ethical standards. Furthermore, it does not take an expert to
27   speculate that, starting from the assumption that a piece of
     property has no value, no one will want to buy the property. The
28   issue was not Mr. Lien’s credibility so much as it was his
     failure to provide helpful testimony.

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 1   discussing plaintiffs’ motion to amend the judgment, plaintiffs
 2   did not demonstrate entitlement to relief on their constitutional
 3   claim, and the court cannot conceive how plaintiffs could have
 4   believed they would be entitled to relief.       Because no facts
 5   supported a finding that VOCs migrated to the Crane property or
 6   that any constitutional violation occurred, there was no
 7   realistic chance of success on any constitutional claims arising
 8   from the VOC issue.
 9              In contrast, the court found that plaintiffs proved
10   that trash, odors, and creek debris were found on their property.
11   However, as explained in detail regarding plaintiffs’ motion to
12   amend the judgment, plaintiffs did not even attempt to present
13   evidence that the trash, odors, or creek debris affected them in
14   any way.   Particularly given that plaintiffs were represented and
15   advised by highly qualified and competent counsel, the court
16   cannot see how they could have thought they could prove a
17   constitutional violation without any legal foundation.
18              Finally, as the court explained in its decision,
19   plaintiffs presented a new theory of liability at trial by
20   presenting the testimony of Bert Crane, Jr., that water from the
21   landfill flooded the Crane property.     No evidence was presented
22   to support the claim, and the only pictures presented to the
23   court showed the land in a non-flooded state.        (Mem. of Decision
24   at 15:24-16:13.)   While the claim was admittedly minor and few
25   fees would have resulted from its inclusion, there was no
26   rational basis to believe it had any chance of success.
27              Because plaintiffs knew or should have known that their
28   § 1983 claims lacked merit at the outset of litigation, defendant

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 1   is entitled to recover attorney’s fees under § 1988.
 2              2.   Award Calculation
 3              To determine a reasonable attorney’s fee in this case,
 4   the court must first calculate the “lodestar” amount by taking
 5   the number of hours reasonably expended on the litigation and
 6   multiplying it by a reasonable hourly rate.           Fischer v. SJB-P.D.
 7   Inc., 214 F.3d 1115, 1119 (9th Cir. 2000) (citing Hensley v.
 8   Eckerhart, 461 U.S. 424, 433 (1983)).          There is a strong
 9   presumption that the lodestar amount is reasonable.              Fischer, 214
10   F.3d at 1119 n.4.   The district court may exclude from the
11   initial fee calculation hours that were “excessive, redundant, or
12   otherwise unnecessary.”       Hensley, 461 U.S. at 434.          The court may
13   then adjust the lodestar amount based on an evaluation of the
14   factors articulated in Kerr v. Screen Extras Guild, Inc., 526
15   F.2d 67 (9th Cir. 1975), that are not subsumed under the lodestar
16   calculation.8   The fee applicant bears the burden of documenting
17   the appropriate hours expended in the litigation and must submit
18   evidence in support of those hours worked.          Hensley, 461 U.S. at
19   437.
20              Defendant proposes a lodestar figure of $345,875.00 to
21
            8
22             The factors articulated by the Ninth Circuit in Kerr
     are: (1) the time and labor required, (2) the novelty and
23   difficulty of the questions involved, (3) the skill required to
     perform the legal service properly, (4) the preclusion of other
24   employment by the attorney due to acceptance of the case, (5) the
     customary fee, (6) whether the fee is fixed or contingent, (7)
25   time limitations imposed by the client or the circumstances, (8)
     the amount involved and the results obtained, (9) the experience,
26   reputation, and ability of the attorneys, (10) the
     “undesirability” of the case, (11) the nature and length of the
27   professional relationship with the client, and (12) awards in
     similar cases. Kerr, 526 F.2d at 70. The factor regarding the
28   contingent nature of the fee agreement has been rejected by the
     Supreme Court. City of Burlington v. Dague, 505 U.S. 557 (1992).

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 1   $432,343.80.   This amount accounts for the hours expended by
 2   Roger Matzkind, James Stone, and Marianne Greene, all attorneys
 3   with the Merced County Counsel’s office.
 4                    a.   Reasonable Hourly Rate
 5             A reasonable rate is typically based upon the
 6   prevailing market rate in the community for “similar work
 7   performed by attorneys of comparable skill, experience, and
 8   reputation.”   Chalmers v. City of Los Angeles, 796 F.2d 1205,
 9   1211 (9th Cir. 1986); see also Blum v. Stenson, 465 U.S. 886, 895
10   n.11 (1984) (“[T]he burden is on the fee applicant to produce
11   satisfactory evidence . . . that the requested rates are in line
12   with those prevailing in the community . . . .”).               The relevant
13   community is generally the forum in which the court sits.                Barjon
14   v. Dalton, 132 F.3d 496, 500 (9th Cir. 1997).
15             Here, defendant seeks hourly rates of $300.00 to
16   $375.00 for Mr. Matzkind and $200.00 to $250.00 for Mr. Stone and
17   Ms. Greene.    (Matzkind Decl. ¶¶ 11-12 (Docket No. 205-1).)              Mr.
18   Matzkind represents in his declaration that these rates are
19   reasonable hourly fees for chief attorneys and junior attorneys,
20   respectively, in the Central Valley.       Plaintiffs neither objected
21   to the hourly rates defendant requested nor disputed the
22   representations Mr. Matzkind made in his declaration.
23             Recent cases in the Fresno Division of the Eastern
24   District of California have determined that hourly rates of
25   $300.00, $315.00, and $350.00 were reasonable for “experienced
26   and competent counsel.”       Jadwin v. Cnty. of Kern, --- F. Supp. 2d
27   ----, ----, 2011 WL 240695, at *47 (E.D. Cal. 2011).              Given Mr.
28   Matzkind’s experience as an attorney practicing for more than

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 1   thirty years (Matzkind Decl. ¶ 10), the court will take the
 2   average of these rates and use a rate of $325.00 for Mr.
 3   Matzkind.   Mr. Stone and Ms. Greene have thirteen and twenty
 4   years of experience respectively.        (Stone Decl. ¶ 2 (Docket No.
 5   205-3); Greene Decl. ¶ 4 (Docket No. 205-6).)           Jadwin found that
 6   a reasonable hourly rate for an attorney performing primarily
 7   research attorney services with twenty years of experience was
 8   $295.00.    Jadwin, 2011 WL 240695, at *50.        Accordingly, the court
 9   will use a rate of $250.00, the upper end of the range requested
10   by defendant, for Mr. Stone and Ms. Greene.
11                    b.   Reasonable Number of Hours
12               Defendant has submitted detailed billing for the work
13   associated with this action, which totals 925.25 hours for Mr.
14   Matzkind, 200 hours for Mr. Stone, and 143 hours for Ms. Greene.
15   (Mem. of P. & A. in Supp. of Def.’s Mot. for Att’y Fees Exs. A,
16   C, F (Docket No. 205).)       The work in this case for which
17   defendant requests fees was related primarily to a motion to
18   dismiss the Third Amended Complaint, discovery issues, a summary
19   judgment motion, and trial.      After carefully reviewing the
20   documents, and noting no objection from plaintiffs, the court
21   finds no need to exclude any of the reported hours as “excessive,
22   redundant, or otherwise unnecessary.”          Van Gerwen v. Guarantee
23   Mut. Life Co., 214 F.3d 1041, 1045 (9th Cir. 2000).              Given the
24   complexity of the case, the court finds that the hours spent were
25   reasonable.
26               Plaintiffs argue that defendant can only recover for
27   time spent related to the § 1983 claims and not for any state law
28   claims.    The Ninth Circuit recently held that:

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 1        the only fees that may be awarded are those incurred for
          work performed exclusively in order to provide a defense
 2        against claims for which fees are permissible.         If
          defendants do not demonstrate that the work would not
 3        have been performed in order to defend against the
          nonfrivolous civil rights, or to put it differently, but
 4        for the need to defend against the frivolous claims, fees
          associated with that work cannot be awarded, even in
 5        part.
 6
     Harris v. Maricopa Cnty. Super. Ct., 631 F.3d 963, 973 (9th Cir.
 7
     2011).    In that case, involving several different federal civil
 8
     rights claims, the district court had found that most of the
 9
     civil rights claims were nonfrivolous and only a few were
10
     frivolous.    The court then divided the fees on a pro rata basis,
11
     awarding a percentage of fees equivalent to the percentage of
12
     civil rights claims that were frivolous.        The Ninth Circuit
13
     reversed, holding that it was inappropriate to award fees to a
14
     prevailing defendant where the fees would have been incurred to
15
     defend against the nonfrivolous federal civil rights claims
16
     whether or not frivolous civil rights claims were present.               Id.
17
                  This is not such a case.   Because there were no
18
     nonfrivolous claims here, Harris is inapplicable.              The proper
19
     question in this case, instead, is whether fees are available for
20
     “pendant state law claims (in addition to [] federal civil rights
21
     claims) under [§ 1988] because these state law claims arose from
22
     a common nucleus of operative fact with a substantial federal
23
     claim.”   Id. at 976 n.6.     Harris explicitly stated that the issue
24
     was “an open question in our Circuit.”        Id.   In Harris, the
25
     district court had answered the question positively, awarding
26
     fees even for the interrelated state law claims, but because the
27
     plaintiff did not challenge the district court’s decision on that
28

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 1   point, the Ninth Circuit did not reach the issue.              Id.
 2              Thus, this court must decide for itself whether to
 3   award fees for both the frivolous federal civil rights claims and
 4   the interrelated frivolous state law claims, when separating out
 5   the fees attributable to each would be futile.          The Ninth Circuit
 6   has held that “when the plaintiff in a civil rights action
 7   prevails on a pendent state claim based on a common nucleus of
 8   operative fact with a substantial federal claim, fees may be
 9   awarded under § 1988.”   Carreras v. City of Anaheim, 768 F.2d
10   1039, 1050 (9th Cir. 1985) (emphasis added).         The Seventh Circuit
11   has applied this reasoning to a prevailing defendant in the
12   context of a § 1988 fee award.      Munson v. Milwaukee Bd. of Sch.
13   Dirs., 969 F.2d 266 (7th Cir. 1992).      In Munson, the plaintiff
14   brought a § 1983 claim and three pendent state law claims, which
15   arose from the same course of conduct.        Id. at 268.        The Seventh
16   Circuit held that when the federal and pendent state law claims
17   are factually and legally related, and when both the federal and
18   state claims are found to be frivolous, they should be treated as
19   one for purposes of fee awards under § 1988.         Id. at 272.        The
20   Munson court reasoned that:
21         If a plaintiff can be awarded fees for work done on an
           unsuccessful pendent state claim which is factually or
22         legally related to a successful civil rights claim, then
           defendants likewise should be entitled to fee awards for
23         defending frivolous pendent claims factually or legally
           related to frivolous civil rights claims. Separating out
24         the legal services rendered for the federal and pendent
           claims would be futile in both circumstances.
25
26   Id.
27              While Munson is not binding on this court, the
28   reasoning is persuasive.      See McAnally v. Clark Cnty., No.

                                        27
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 1   0204CV01220, 2006 WL 240896, at *1 (D. Nev. Jan. 27, 2006)
 2   (citing Munson and awarding attorney’s fees for § 1983 and state
 3   law claims when those claims were dismissed for the same reason
 4   and all lacked legal foundation).      Here, all of plaintiffs’ state
 5   law claims arose from the same set of facts as their § 1983
 6   claims.   Indeed, the court found the issues to be so intertwined
 7   that it was more effective to write the Memorandum of Decision in
 8   terms of the four distinct factual issues than in terms of each
 9   cause of action.   Thus, attorney’s fees may properly be awarded
10   for the entire case because plaintiffs’ frivolous § 1983 claims
11   are inseparable from their frivolous state law claims.
12              The court finds that no adjustment to the lodestar
13   figure is necessary.
14              Accordingly, the court will award defendant fees for
15   the following hours:9
16
          9
17             Defendant also moves for an award of attorney’s fees
     under Federal Rule of Civil Procedure 11. Rule 11 gives the
18   court authority to issue sanctions against an attorney or
     unrepresented party who signs a “pleading, written motion, or
19   other paper” that is brought for any improper purpose or is not
     well grounded in fact, warranted by existing law, or made in good
20   faith, and provides that sanctions for violations of the Rule may
     include “part or all of the reasonable attorney’s fees and other
21   expenses directly resulting from the violation.” Fed. R. Civ. P.
     11(c)(4). In addition to asking for attorney’s fees under Rule
22   11, defendant seeks costs for expert witnesses and other
     miscellaneous costs totaling $247,587.48. (Supplemental Mem. of
23   P. & A. in Supp. of Def.’s Mot. for Rule 11 Sanctions Ex. A-2 at
     4 (Docket No. 208).)
24
               The court has determined an award of attorney’s fees
25   under § 1988 is appropriate and thus the court need not address
     attorney’s fees under Rule 11. As for costs, defendant would
26   have to show that the costs directly resulted from one of the
     eleven specific allegations in the Third Amended Complaint that
27   it argues violated Rule 11, a question that would require
     extensive further briefing. The court will not allow the Rule 11
28   to prolong this litigation any further. See Jensen Elec. Co. v.
     Moore, Caldwell, Rowland & Dodd, Inc., 873 F.2d 1327, 1330 (9th

                                       28
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 1   Name               Hours            Hourly Rate           Lodestar Amt.
 2   Matzkind           924.25           $325.00               $300,381.25
 3   Stone              200              $250.00               $50,000.00
 4   Greene             143              $250.00               $35,750.00
 5   TOTAL              1267.25                                $386,131.25

 6               IT IS THEREFORE ORDERED that:
 7          (1) Plaintiffs’ motion that the trial court amend its
 8   findings or make additional findings, for new trial or to alter
 9   or amend the judgment, and for relief from judgment due to
10   mistake or inadvertence be, and the same hereby is, DENIED;
11          (2) Defendant’s motion to amend or clarify the findings be,
12   and the same hereby is, DENIED;
13          (3) Defendant’s motion for attorney’s fees be, and the same
14   hereby is, GRANTED, and fees of $386,131.25 are awarded to
15   defendant; and
16          (4) Defendant’s motion for Rule 11 sanctions be, and the
17   same hereby is, DENIED.
18          (5) Defendant shall file a supplemental declaration
19   detailing its fees incurred after the filing of the instant
20   motions within ten days of the date of this Order.
21   DATED:   April 27, 2011
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     Cir. 1989) (“Rule 11 can lead to costly and aimless satellite
27   litigation having nothing to do with the dispute between the
     parties. Here indeed the sanctions tail is wagging the dog.”)
28   (Schroeder, J., concurring). Accordingly, the court will
     exercise its discretion and deny the Rule 11 motion.

                                       29
